                        Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 1 of 8
AO 245B (Rev. 6/05 - Judgment in a Criminal Case



                                           United States District Court
                                               Northern District of California


          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                      v.
           SERGIO CASPER CONTRERAS                                       USDC Case Number: CR-11-00876-001
                                                                                                        EJD
                                                                         BOP Case Number: DCAN511CR000876-001
                                                                         USM Number: 16428-111
                                                                         Defendant’s Attorney :Manuel A. Araujo


THE DEFENDANT:
[x]       pleaded guilty to count(s): One of the Information .
[]        pleaded nolo contendere to count(s)      which was accepted by the court.
[]        was found guilty on count(s)     after a plea of not guilty.

The defendant is adjudicated guilty of these offense(s):

                                                                                                         Offense
 Title & Section                        Nature of Offense                                                Ended                 Count

 18 U.S.C. § 2252(a)(2)                 Distribution of Child Pornography                         November 17, 2011              One

        The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on count(s)        .

[]        Count(s)       (is)(are) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic circumstances.

                                                                                                   October 29, 2012
                                                                                            Date of Imposition of Judgment


                                                                                              Signature of Judicial Officer

                                                                                   Honorable Edward J. Davila, U. S. District Judge
                                                                                          Name & Title of Judicial Officer

                                                                                                        11/1/2012
                                                                                                          Date
                       Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 2 of 8
AO 245B (Rev. 12/03) (CAND Rev. 3/07) Judgment in a Criminal Case Sheet 2 - Imprisonment

DEFENDANT:                    SERGIO CASPER CONTRERAS                                                      Judgment - Page 2 of 8
CASE NUMBER:                  CR-11-00876-001 EJD

                                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 87 months .


[]        The Court makes the following recommendations to the Bureau of Prisons:

[x]       The defendant is remanded to the custody of the United States Marshal. The appearance bond is hereby
          exonerated.

[]        The defendant shall surrender to the United States Marshal for this district.

          [ ] at     [] am [] pm on .
          [ ] as notified by the United States Marshal.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:

          [ ] before 2:00 pm on      .
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

at                                                       , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                                           By
                                                                                                Deputy United States Marshal
                        Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 3 of 8
AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     SERGIO CASPER CONTRERAS                                                     Judgment - Page 3 of 8
CASE NUMBER:                   CR-11-00876-001 EJD

                                                              SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and two periodic drug tests
thereafter.
[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check if applicable.)
[x]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if
         applicable.)
[x]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)
[x]      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check if applicable.)
[]       The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions in this judgment.
                                                         STANDARD CONDITIONS
1)    The defendant shall not leave the judicial district without permission of the court or probation officer;
2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependants and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
      other acceptable reasons;
6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the Court; and
13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant’s compliance with such notification requirement.
                        Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 4 of 8
AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     SERGIO CASPER CONTRERAS                                         Judgment - Page 4 of 8
CASE NUMBER:                   CR-11-00876-001 EJD


                                            SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall abstain from the use of all alcoholic beverages.

2.    The defendant shall participate in a program of testing and treatment for alcohol and/or drug abuse, as directed
      by the probation officer, until such time as the defendant is released from treatment by the probation officer.
      The defendant is to pay part or all of the cost of this treatment, at an amount not to exceed the cost of treatment,
      as deemed appropriate by the probation officer. Payments shall never exceed the total cost of urinalysis and
      counseling. The actual co-payment schedule shall be determined by the probation officer.

3.    The defendant shall submit his person, residence, office, vehicle, or any property under his control to a search.
      Such a search shall be conducted by a United States Probation Officer or any federal, state, or local law
      enforcement officer at any time with or without cause. Failure to submit to such a search may be grounds for
      revocation; the defendant shall warn any residents that the premises may be subject to searches.

4.    The defendant shall only possess such computers or peripheral equipment as approved by the probation officer.
      All computers, computer-related devices, including, but not limited to, personal computers, personal data
      assistants (PDAs), Internet appliances, electronic games, and cellular telephones, as well as their peripheral
      equipment, that can access, or can be modified to access, the Internet, electronic bulletin boards, and other
      computers, or similar media and their peripheral equipment, used by the defendant, shall be subject to search
      and seizure and the installation of search and/or monitoring software and/or hardware, including unannounced
      seizure for the purpose of search. The defendant shall not add, remove, upgrade, update, reinstall, repair, or
      otherwise modify the hardware or software on the computers, computer-related devices, or their peripheral
      equipment, nor shall he hide or encrypt files or data without prior approval of the Probation Officer. Further,
      the defendant shall provide all billing records, including telephone, cable, Internet, satellite, and the like, as
      requested by the Probation Officer.

5.    The defendant shall register with the state sex offender registration agency in any state where the defendant
      resides, is employed, carries on a vocation, or is a student, as directed by the Probation Officer. The defendant
      shall provide proof of registration to the Probation Officer within 5 days of release from
      imprisonment/placement on probation.

6.    The defendant shall participate in a sex offender treatment program, as directed by the Probation Officer. The
      defendant shall abide by all rules, requirements, and conditions of such program, including, but not limited to,
      polygraph. The Probation Officer shall disclose the presentence report and/or any previous mental health
      evaluations or reports to the treatment provider.

7.    The defendant shall not possess any materials, including pictures, photographs, books, writings, drawings,
      videos, or video games, depicting and/or describing child pornography, as defined in 18 U.S.C. § 2256(8).

8.    The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming pools,
      playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under the age of
      18.
                        Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 5 of 8
AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     SERGIO CASPER CONTRERAS                                      Judgment - Page 5 of 8
CASE NUMBER:                   CR-11-00876-001 EJD


9.    The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any
      person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b)
      on the condition that the defendant notify said parent or legal guardian of his conviction in the instant
      offense/prior offense. This provision does not encompass persons under the age of 18, such as waiters, cashiers,
      ticket vendors, etc., with whom the defendant must deal with in order to obtain ordinary and usual commercial
      services.

10. The defendant shall not affiliate with, own, control, volunteer and/or be employed in any capacity by a business
    and/or organization that causes him to regularly contact persons under the age of 18.

11. The defendant shall not affiliate with, own, control, and/or be employed in any capacity by a business whose
    principal product is the production and/or selling of materials depicting and/or describing "sexually explicit
    conduct," as defined at 18 U.S.C. § 2256(2).

12. The defendant’s employment shall be approved by the Probation Officer, and any change in employment must
    be pre-approved by the Probation Officer. The defendant shall submit the name and address of the proposed
    employer to the Probation Officer at least 10 days prior to any scheduled change.

13. The defendant shall not reside within direct view of school yards, parks, public swimming pools, playgrounds,
    youth centers, video arcade facilities, or other places primarily used by persons under the age of 18. The
    defendant’s residence shall be approved by the Probation Officer, and any change in residence must be pre-
    approved by the Probation Officer. The defendant shall submit the address of the proposed residence to the
    Probation Officer at least 10 days prior to any scheduled move.
                         Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 6 of 8
AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                      SERGIO CASPER CONTRERAS                                                                         Judgment - Page 6 of 8
CASE NUMBER:                    CR-11-00876-001 EJD

                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                        Assessment                 Fine               Restitution

      Totals:                                                $ 100                               $0.00                            $0.00


[ ] The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the
amount listed below. The defendant shall make all payments directly to the U.S. District Court Clerk’s Office
who will disburse payments to the payee.

    If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.


 Name of Payee                                                      Total Loss*               Restitution Ordered               Priority or Percentage



                     Totals:                            $                   $



[ ] Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine
    is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All
    of the payment options on Sheet 6, may be subject to penalties for delinquency and default, pursuant to 18
    U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      [ ] the interest requirement is waived for the                            [ ] fine      [ ] restitution.

      [ ] the interest requirement for the                      [ ] fine          [ ] restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
                           Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 7 of 8
AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        SERGIO CASPER CONTRERAS                                                                             Judgment - Page 7 of 8
CASE NUMBER:                      CR-11-00876-001 EJD

                                                       SCHEDULE OF PAYMENTS
  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as
follows:

A     [x] Lump sum payment of $100 due immediately, balance due

      []      not later than              , or

      [X] in accordance with ( ) C, ( ) D, ( ) E, ( ) F ( X) G or ( ) H below; or

B     [ ] Payment to begin immediately (may be combined with ( ) C, ( ) D, or ( ) F below); or

C     [ ] Payment in equal      (e.g. weekly, monthly, quarterly) installments of $ over a period of                                                          (e.g.,
          months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal     (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g.,
          months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of
          supervision; or

E     [ ] Payment during the term of supervised release will commence within (e,g, 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s
          ability to pay at that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:


G. [x] In Custody special instructions:

            Payment of criminal monetary penalties is due during imprisonment at the rate of not less than $25.00
            per quarter and payment shall be through the Bureau of Prisons Inmate Financial Responsibility
            Program. Criminal monetary payments shall be made to the Clerk of U.S. District Court, 450 Golden
            Gate Ave., Box 36060, San Francisco, CA 94102

H. [ ] Out of Custody special instructions:

            It is further ordered that the defendant shall pay to the United States a special assessment of $ and a
            fine of $ which shall be due immediately. If incarcerated, payment of criminal monetary payment is due
            during imprisonment and payment shall be through the Bureau of Prisons Inmate Financial
            Responsibility Program. Criminal monetary payments shall be made to the Clerk of U.S. District Court,
            450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                           Case 5:11-cr-00876-EJD Document 32 Filed 11/01/12 Page 8 of 8
AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        SERGIO CASPER CONTRERAS                                                                             Judgment - Page 8 of 8
CASE NUMBER:                      CR-11-00876-001 EJD
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.


       []           Joint and Several

         Defendant and co-                Case Numbers                     Total Amount                     Joint and Several                Corresponding
         defendant Names                  (including                                                        Amount                           Payee (if
                                          defendant number)                                                                                  appropriate)




       []           The defendant shall pay the cost of prosecution.

       []           The defendant shall pay the following court cost(s):

       []           The defendant shall forfeit the defendant's interest in the following property to the United States:

       []           The Court gives notice that this case involves other defendants who may be held jointly and
                    severally liable for payment of all or part of the restitution ordered herein and may order such
                    payment in the future, but such future orders do not affect this defendant's responsibility for
                    the full amount of the restitution ordered.




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
